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                                                                                    q                          FILED
                                                                                                  TARRANT COUNTY
                                                                                                   8/14/2017 2:55 PM
                                     CAUSE N0067-293858-17                                       THOMAS A. WILDER
                                                                 -                                  DISTRICT CLERK

     ANDRE FILLMORE,                                             IN THE DISTRICT COURT OF

            Plaintiff,

     vs.                                                         TARRANT COUNTY, TEXAS

     LIBERTY 1NSURANCE CORPORATION,

            Defendant.                                                      JUDICIAL DISTRICT


                               PLAINTIFF'S ORIGINAL PETITION                            I~




    TO THE HONORABLE JUDGE OF SAID COURT:

           Andre Fillmore ("Mr. Fillmore"), Plaintiff herein, files this Original Petition against

    Defendant Liberty Insurance Corporation ("Liberty") and, in support of his causes,of action, would

    respectfully show the Court the following:

                                                 I.
                                            THE PARTIES

           1.      Andre Fillmore is a Texas resident who resides in Tarrant County;~ Texas.

           2.      Liberty is.an insurance company doing business in the State of Texas which may

    be served through its registered agent for service of process in the State of Texas, Corporation

    Service Company, via certified mail at 211 East 7th Street, Suite 620, Austin, TX, 78701-3218.

                                                 II.
                                             DISCOVERY

           3.      This case is intended to be governed by Discovery Leve12.                 ,




                                                    1



                                     EXHIBIT C-1
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                                        CLAIM FOR RELIEF


          4.    The damages sought are within the jurisdictional limits of this court. Plaintiff

currently seeks monetary relief over $100,000, but not more than $200,000, including damages of

any kind, penalties, costs, expenses, pre judgment interest, and attorney's fees.

                                            IV.
                                  JURISDICTION AND VENUE

          5.    This court has subject matter jurisdiction of this cause of action because it involves

an amount in controversy in excess of the minimum jurisdictional limits of this Court. No diversity

of citizenship exists in this matter.

          6.    Venue is proper in Tarrant County because all or a substantial part of the events or

omissions giving rise to the claim occurred in Tarrant County. TEX. CIV. PRAC & REM CODE §

15.002(a)(1). In particular, the loss at issue occurred in Tarrant County.          "

                                             V.
                                    FACTUAL BACKGROUND                               I

          7.    Mr. Fillmore is a named insured under a property insurance policy issued by

Liberty.

          8.    On or about March 17, 2016 a storm hit the Fort Worth, Texas area, damaging Mr.

Fillmore's house and other property. Mr. Fillmore subsequently filed a claim on his insurance

policy.

          9.    Defendant improperly denied and/or underpaid the claim.                  i

          10.   The adjuster assigned to the claim conducted a substandard investigation and

inspection of the property, prepared a report that failed to include all of the damages that were

observed during the inspection, and undervalued the damages observed during the inspection.

          11.   This unreasonable investigation led to the underpayment of Plaintiff's claim.


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       12.     Moreover, Liberty performed an outcome-oriented investigation of Plaintiff's claim,

which resulted in a biased, unfair and inequitable evaluation of Plaintiff's losses on the property.

                                            vI.
                                     CAUSES OF ACTION

       13.     Each of the foregoing paragraphs is incorporated by reference in the following:

A.     Breach of Contract

       14.     Liberty had a contract of insurance with Plaintiff. Liberty breached the terms of

that contract by wrongfully denying and/or underpaying the claim and Plaintiff was damaged

thereby.

B.     Prompt Payment of Claims Statute

       15.     The failure of Liberty to pay for the losses and/or to follow the statutory time

guidelines for accepting or denying coverage constitutes a violation of Section 542.051 et seq. of

the Texas Insurance Code.

       16.     Plaintiff, therefore, in addition to Plaintiff's claim for damages, i$ entitled to 18%

interest and attorneys' fees as set forth in Section 542.060 of the Texas Insurance Code.

C.     Bad Faith/Deceptive Trade Practices Act ("DTPA")

       17.     Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

       18.     Defendant violated Section 541.051 of the Texas Insurance Code iby:

               (1)     making statements misrepresenting the terms and/or benef ts of the policy.

       19.     Defendant violated Section 541.060 by:

               (1)     misrepresenting to Plaintiff a material fact or policy provision relating to

                       coverage at issue;




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              (2)    failing to attempt in good faith to effectuate a prompt, fair, and equitable

                     settlement of a claim with respect to which the insurer's liability had

                     become reasonably clear;

              (3)    failing to promptly provide to Plaintiff a reasonable explanation of the basis

                     in the policy, in relation to the facts or applicable law, for the insurer's

                     denial of a claim or offer of a compromise settlement of a claim;

              (4)    failing within a reasonable time to affirm or deny coverage of a claim to

                     Plaintiff or submit a reservation of rights to Plaintiff; and

              (5)    refusing to pay the claim without conducting a reasonable investigation with
                                                                                  ~
                     respect to the claim;

       20.    Defendant violated Section 541.061 by:

              (1)    making an untrue statement of material fact;

              (2)    failing to state a material fact necessary to make other statements made not

                     misleading considering the circumstances under which the statements were

                     made;

              (3)    making a statement in a manner that would mislead a reasonably prudent

                     person to a false conclusion of a material fact;

              (4)    making a material misstatement of law; and

              (5)    failing to disclose a matter required by law to be disclosed.

       21.    At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendant.

       22.    Defendant has violated the Texas DTPA in the following respects:




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              (1)     Defendant represented that the agreement confers or involves rights,

                      remedies, or obligations which it does not have, or involve, or which are

                      prohibited by law;                                         ~

              (2)     Liberty failed to disclose information concerning goods or services which

                      was known at the time of the transaction when such failure to disclose such

                      information was intended to induce the consumer into a transaction that the

                      consumer would not have entered into had the information,been disclosed;

              (3)     Liberty, by accepting insurance premiums but refusing without a reasonable

                      basis to pay benefits due and owing, engaged in an unconscionable action

                      or course of action as prohibited by Section 17.50(a)(1)(3) of the DTPA in

                      that Liberty took advantage of Plaintiff's lack of knowledge, ability,

                      experience, and capacity to a grossly unfair degree, that also resulted in a

                      gross disparity between the consideration paid in the transaction and the

                      value received, in violation of Chapter 541 of the Texas Insurance Code.

       23.    Defendant knowingly committed the acts complained of. As such, Plaintiff is

entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code

Section 541.152(a)-(b).

D.     Attorneys' Fees

       24.    Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorneys' fees and expenses through trial and any appeal.

       25.    Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to Texas

Civil Practice and Remedies Code Sections 38.001-38.003 because he is represented by an




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attorney, presented the claim to Defendant, and Defendant did not tender the just amount owed

before the expiration of the 30t" day after the claim was presented.

        26.       Plaintiff further prays that he be awarded all reasonable attorneys' fees incurred in

prosecuting his causes of action through trial and any appeal pursuant to Sections 541.152 and +

542.060 of the Texas Insurance Code.

                                             VII.
                                    CONDITIONS PRECEDENT

        27.       All conditions precedent to Plaintiff's right to recover have been fully performed,

or have been waived by Defendant.

                                                  VIII.
                                     DISCOVERY REOUESTS
                                                                                      ,

        28.       Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after

service of this request, the information or material described in Rule 194.2(a)-(1).,

        29.       You are also requested to respond to the attached interrogatories, requests for

production, and requests for admissions within fifty (50) days, in accordance with the instructions

stated therein.

                                                 IX.                                  ~
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Andre Fillmore prays that, upon final

hearing of the case, he recover all damages from and against Defendant that may reasonably be

established by a preponderance of the evidence, and that Mr. Fillmore be awarded attorneys' fees

through trial and appeal, costs of court, pre judgment interest, post judgment interest, and such

other and further relief, general or special, at law or in equity, to which Mr. Fillmore may show

himself to be justly entitled.




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                                 Respectfully submitted,

                                 DALY & BLACK, P.C.

                                 By:      ls/ David Bergen
                                        ~ Richard D. Daly
                                          TBA No. 00796429
                                          rdaly_(a),dalyblack.com     i
                                          ecfs e,dalyblack.com
                                          David Bergen
                                          TBA No. 24097371
                                          dberg_n
                                                e a,dalyblack.com
                                          2211 Norfolk St., Suite 800 '
                                          Houston, Texas 77098
                                          713.655.1405—Telephone '
                                          713.655.1587—Fax

                                          ATTORNEYS FOR PLAINTIFF
                                          ANDRE FILLMORE




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               PLAINTIFF'S FIRST SET OF INTERROGATORIES,
         REQUESTS FOR PRODUCTION AND REQUESTS FOR ADMISSIONS

       COMES NOW Plaintiff in the above-styled and numbered cause, and requests that

Defendant (1) answer the following discovery requests separately and fully in writing under oath

within 30 days of service (or within 50 days of service if the discovery was served prior to the date

an answer is due); (2) produce responsive documents to the undersigned counsel'within the same

time period; and (3) serve its answers to these discovery requests within the same time period to

Plaintiff by and through his attorneys of record, Daly & Black, P.C, 2211 Norfolk St, Suite 800,

Houston, Texas 77098.


                                              Respectfully submitted,

                                              DALY & BLACK, P.C.

                                              By:     ls/ David Ber,zen
                                                      Richard D. Daly
                                                      TBA No. 00796429
                                                      rdaly@dalyblack.com
                                                      ecfs(a~dal yblack.com
                                                      David Bergen
                                                      TBA No. 24097371
                                                      dbergengdalyblack.com       !
                                                      2211 Norfolk St., Suite 800 ;
                                                      Houston, Texas 77098
                                                      713.655.1405—Telephone ~
                                                      713.655.1587—Fax

                                                      ATTORNEYS FOR PLAINTIFF
                                                      ANDRE FILLMORE
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                                CERTIFICATE OF SERVICE

        I hereby certify that I sent a true and correct copy of the attached discovery requests to
Defendant(s) as an attachment to the petition. Therefore, Defendant would have received it when
it was served with the citation.

                                                    /s/ David Bergen
                                                    David Bergen




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                                     INSTRUCTIONS


  A.    These Responses call for your personal and present knowledge, as well as the present
        knowledge of your attorneys, investigators and other agents, and for information
        available to you and to them.

  B.    Pursuant to the applicable rules of civil procedure, produce all documents responsive
        to these Requests for Production as they are kept in the usual course of business or
        organized and labeled to correspond to the categories in the requests' within the time
        period set forth above at Daly & Black, P.C.

  C.    If you claim that any document or information which is required to be identified or
        produced by you in any response is privileged, produce a privilege log according to the
        applicable rules of civil procedure.

        1.   Identify the document's title and general subject matter;
        2.   State its date;
        3.   Identify all persons who participated in its preparation;
        4.   Identify the persons for whom it was prepared or to whom it was sent;
        5.   State the nature of the privilege claimed; and
        6.   State in detail each and every fact upon which you base your claim for privilege.

  D.    If you claim that any part or portion of a document contains privileged information,
        redact only the part(s) or portion(s) of the document you claim to be privileged.

  E.    If you cannot answer a particular Interrogatory in full after exercising due diligence to
        secure the information to do so, please state so and answer to the extent possible,
        specifying and explaining your inability to answer the remainder and stating whatever
        information or knowledge you have concerning the unanswered portion.

  F.    You are also advised that you are under a duty to seasonably amend your responses if
        you obtain information on the basis of which:

        1. You know the response made was incorrect or incomplete when made; or
        2. You know the response, though correct and complete when made, is no longer true
           and complete, and the circumstances
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                                      DEFINITIONS

  A.   "Defendant," "You," "Your(s)," refers to Liberty Insurance Corporation, its agents,
       representatives, employees and any other entity or person acting on its behalf.

  B.   "PlaintifP' refers to the named Plaintiff in the above-captioned suit.

  C.   "The Property(ies)" refers to the property or properties located at the address(es)
       covered by the Policy.

  D.   "The Policy" refers to the policy issued to Plaintiff by the insurer and at issue in this
       lawsuit.

  E.   "The Claim(s)" means the claim for insurance benefits submitted by Plaintiff and at
       issue in this lawsuit, or in a prior claim, as the context may dictate.

  F.   "Date of Loss" refers to the date(s) of loss identified in Plaintiff's live
       petition/complaint or other written or oral notice, or otherwise assigned to the claim by
       the insurer.

  G.   "Handle" or "Handled" means investigating, adjusting, supervising, estimating,
       managing, settling, approving, supplying information or otherwise performing a task
       or work with respect to the claim(s) at issue in this lawsuit, excluding purely ministerial
       or clerical tasks.

  H.   "Lawsuit" refers to the above styled and captioned case.

  I.   "Communication" or "communications" shall mean and refer to the transmission or
       exchange of information, either orally or in writing, and includes without limitation
       any conversation, letter, handwritten notes, memorandum, inter ''or intraoffice
       correspondence, electronic mail, text messages, or any other electronic transmission,
       telephone call, telegraph, telex telecopy, facsimile, cable, conference, tape recording,
       video recording, digital recording, discussion, or face-to-face communication.

  J.    The term "Document" shall mean all tangible things and data, however stored, as set
        forth in the applicable rules of civil procedure, including, but not limited to all original
        writings of any nature whatsoever, all prior drafts, all identical copies, al,l nonidentical
        copies, correspondence, notes, letters, memoranda o£ telephone conversations,
        telephone messages or call slips, interoffice memoranda, intraoffice memoranda, client
        conference reports, files, agreements, contracts, evaluations, analyses, records,
        photographs sketches, slides, tape recordings, microfiche, communications, printouts,
        reports, invoices, receipts, vouchers, profit and loss statements, accounting ledgers,
        loan documents, liens, books of accounting, books of operation, bank statements,
        cancelled checks, leases, bills of sale, maps, prints, insurance policies, appraisals,
        listing agreements, real estate closing documents, studies, summaries, minutes, notes,
        agendas, bulletins, schedules, diaries, calendars, logs, announcements, instructions,



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          charts, manuals, brochures, schedules, price lists, telegrams, teletypes, photographic
          matter, sound reproductions, however recorded, whether still on tape or transcribed to
          writing, computer tapes, diskettes, disks, all other methods or means of storing data,
          and any other documents. In all cases'where originals, prior drafts, identical copies, or
          nonidentical copies are not available; "document" also means genuine, true and correct
          photo or other copies of originals, prior drafts, identical copies, or nonidentical copies.
          "Document" also refers to any other material, including without limitation, any tape,
          computer program or electronic data storage facility in or on which any data or
          information has been written or printed or has been temporarily or permanently
          recorded by mechanical, photographic, magnetic, electronic or other means, and
          including any materials in or on which data or information has been recorded in a
          manner which renders in unintelligible without machine processing.

  K.      The term "referring" or "relating" shall mean showing, disclosing, averting to,
          comprising, evidencing, constituting or reviewing.

  L.      The singular and masculine form of any noun or pronoun includes the plural, the
          feminine, and the neuter.

  M.      The terms "identification," "identify," and "identity" when used in reference to:

       1. Natural Persons: Means to state his or her full name, residential address, present or
          last known business address and telephone number, and present or last known position
          and business affiliation with you;
       2. Corporate Entities: Means to state its full name and any other names under which it
          does business, its forni or organization, its state of incorporation, its present or last
          known address, and the identity of the officers or other persons who own, operate, or
          control the entity;
       3. Documents: 1Vleans you must state the number of pages and nature of the document
          (e.g. letter or memorandum), its title, its date, the name or names of its authors and
          recipients, its present location and custodian, and if any such document was, but no
          longer is, in your possession or control, state what disposition was made of it, the date
          thereof, and the persons responsible for making the decision as to such disposition;
       4. Communication: Requires you, if any part of the communication was written, to
          identify the document or documents which refer to or evidence the communication and,
          to the extent that the communication was non-written, to identify each person
          participating in the communication and to state the date, manner, place, and substance
          of the communication; and
       5. Activity: Requires you to provide a description of each action, occurrence, transaction
          or conduct, the date it occurred, the location at which it occurred, and the identity of all
          persons involved.

  N.       The term "Claim File" means the claim files and "field file(s)," whether kept in paper
           or electronic format, including but not limited to all documents, file jackets, file notes,
           claims diary or journal entries, log notes, handwritten notes, records of oral
           communications, communications, correspondence, photographs, diagrams, estimates,
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           reports, recommendations, invoices, memoranda and drafts of documents regarding the
           Claim.

   O.      The term "Underwriting File" means the entire file, including all documents and
           information used for underwriting purposes even if you did not rely on such documents
           or information in order to make a decision regarding insuring Plaintiffs Property.



                             NOTICE OF AUTHENTICATION

       You are advised that pursuant to Tex. R. Civ. P. 193.7, Plaintiff intends to use all
documents exchanged and produced between the parties, including but ' not limited to
correspondence and discovery responses during the trial of the above-entitled and numbered cause.




                                               :
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                    INTERROGATORIES TO DEFENDANT LIBERTY

INTERROGATORY NO. 1:
Identify all persons answering or supplying any information in answering these interrogatories.

       ANSWER:

INTERROGATORY NO. 2:
Identify all persons who were involved in evaluating Plaintiff's claim and provide the following
information for each person you identify:                                        ,

       a.      their name and job title(s) as of the Date of Loss;
       b.      their employer; and
       C.      description of their involvement with Plaintiff's Claim.

       ANSWER:

INTERROGATORY NO. 3:
If you contend that the some or all of the damages to the Property were not covered losses under
the Policy, describe:

       a.      the scope, cause and origin of the damages you contend are not covered losses under
               the Policy; and
       b.      the term(s) or exclusion(s) of the Policy you relied upon in support of your decision
               regarding the Claim.

    . ANSWER:

INTERROGATORY NO. 4:
State whether the initial estimate you issued was revised or reconciled, and if so, state what was
changed and who did it.

       ANSWER:

INTERROGATORY NO. 5:
If you contend that Plaintiff did not provide you with requested information that was required to
properly evaluate Plaintiff's Claim, identify the information that was requested and not provided,
and the dates you made those request(s).

       ANSWER:

INTERROGATORY NO. 6:
If you contend that Plaintiff's acts or omissions voided, nullified, waived or breached the Policy
in any way, state the factual basis for your contention(s).

       ANSWER:


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INTERROGATORY NO. 7:
If you contend that Plaintiff failed to satisfy a condition precedent or covenant of,the Policy in any
way, state the factual basis for your contention(s).

        ANSWER:

INTERROGATORY NO. 8:
Identify the date you first anticipated litigation.

        ANSWER:

INTERROGATORY NO. 9:
State the factual basis for each of your affirmative defenses.

        ANSWER:

INTERROGATORY NO. 10:
If you contend that Plaintiff failed to provide proper notice of the claim made the basis of this
lawsuit, describe how the notice was deficient, and identify any resulting prejudice.

        ANSWER:

INTERROGATORY NO. 11:
If you contend that Plaintiff failed to mitigate damages, describe how Plaintiff failed to do so, and
identify any resulting prejudice.

        ANSWER:

INTERROGATORY NO. 12:
Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
depreciation, stating for each item the criteria used and the age of the item.

        ANSWER:




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               REQUEST FOR PRODUCTION TO DEFENDANT LIBERTY

REQUEST FOR PRODUCTION NO. 1
Produce a certified copy of all Policies you issued to Plaintiff for the Property that were in effect
on the Date of Loss.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 2
If you contend that any prior claims Plaintiff submitted for damages to the Property affected your
decision in relation to the Claim at issue, produce a certified copy of all policies you issued to
Plaintiff for the Property that were in effect during the handling of those claim(s).

       RESPONSE:

REQUEST FOR PRODUCTION NO. 3
Produce a copy of the declarations pages you issued for the Property in the three (3) years
preceding the Date of Loss.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 4
Produce your complete Underwriting File for Plaintiff's policy of insurance with you.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 5
Produce the complete Claim File including all documents and communications regarding the
Claim.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 6
Produce the Claim Files regarding the Claim of any third-party you hired and/or retained to
investigate, consult on, handle and/or adjust the Claim.

       RESPONSE:




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REOUEST FOR PRODUCTION NO. 7
If you contend that any prior claims Plaintiff submitted for damages to the Property affected your
decision in relation to the Claim at issue, produce the complete Claim File regarding those prior
claim(s).

       RESPONSE:

REOUEST FOR PRODUCTION NO. 8
Produce all documents Plaintiff (or any other person) provided to you related to the Claim or the
Property.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 9
Produce all documents you provided to Plaintiff (or any other person) related to the Claim or the
Property.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 10
Produce all documents (including reports, surveys, appraisals, damage estimates, proof of loss, or
adjuster's report(s)) referring to the Claim, the Property or damage to the Property.'

       RESPONSE:

REOUEST FOR PRODUCTION NO. 11
Produce color copies of all visual reproductions of the Property taken either prior to, at the time
of, or after the Date of Loss (including diagrams, drawings, photographs, video records,
videotapes, or other information).

       RESPONSE:

REOUEST FOR PRODUCTION NO. 12
The file from the office of Plaintiffs insurance agent concerning Plaintiffs Property.

       RESPONSE:




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REOUEST FOR PRODUCTION NO. 13
Produce all communications between any of your claims personnel, claims handlers, field
adjusters, office adjusters, and their direct or indirect supervisors related to the investigation,
handling, and settlement of Plaintiff s Claim.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 14
Produce all written communications you sent to, or received from, any independent adjusters,
engineers, contractors, estimators, consultants or other third-parties who iparticipated in
investigating, handling, consulting on, and/or adjusting Plaintiffs Claim.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 15
Produce all written and/or electronic communications you sent to, or received from, Plaintiff s
insurance agent related to the Claim, the Property, the Plaintiff or this Lawsuit.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 16
Produce all written and/or electronic communications you sent to, or received from, any local,
state, or governmental entity related to the Claim, the Property, the Plaintiff or this Lawsuit.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 17
Produce all written and/or electronic communications you sent to, or received, from Plaintiff
and/or any other named insured on the Policy related to the Claim, the Property, or, this Lawsuit.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 18
Produce the personnel file for anyone you (or an adjusting firm) assigned to participate in
evaluating damage to Plaintiff s Property, including performance reviews/evaluations. This
request is limited to the three (3) years prior to the Date of Loss and one (1) year after the Date of
Loss.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 19
Produce your claim handling manual(s) (including operating guidelines) in effect on the Date of
Loss related to your claims practices, procedures and standards for property losses and/or wind
and hail storm claims, for persons handling claims on your behalf.

       RESPONSE:


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REOUEST FOR PRODUCTION NO. 20
Produce your property claims training manual and materials in effect on the Date of Loss, for
persons handling, investigating and adjusting claims.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 21
Produce all bulletins, notices, directives, memoranda, internal newsletters, publications, letters and
alerts directed to all persons acting on your behalf that were issued from six (6) months before and
after the Date of Loss related to the handling of wind or hail storm claims in connection with the
storm at issue.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 22
Produce the contract(s), agreement(s) and/or written understanding(s) with any independent
adjusters or adjusting firms who you retained to investigate, handle and/or adjust Plaintiffls Claim
on your behalf that were in effect on the Date of Loss. ,

       RESPONSE:

REOUEST FOR PRODUCTION NO. 23
Produce the contract(s), agreement(s) and/or written understanding(s) with any engineers and/or
engineering firms you retained to investigate, handle and/or adjust Plaintiff's Claim on your behalf
that were in effect at the time of his/her investigation, handling and/or adjustment of Plaintiff's
claim, either pre or post-lawsuit.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 24
Produce the "Pay sheet,"."Payment Log," or list of payments made on PlaintifPs Claim, including
all indemnity, claim expenses and payments made to third-parties.               ,

       RESPONSE:

REQUEST FOR PRODUCTION NO. 25                                                         1



Produce all billing statements, including billing detail, showing the amounts you paid or for which
you were billed by any independent adjusters or adjusting firms who inspected Plaintiff's Property
in connection with the Claim.

       RESPONSE:




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REOUEST FOR PRODUCTION NO. 26
Produce all billing detail showing the amounts you paid or for which you were billed by any
engineer and/or engineering firm who inspected Plaintiff's Property in connection with the Claim,
whether pre or post-lawsuit.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 27
Produce all estimates, reports or memoranda, including drafts of the same, created for you or by
any independent adjusters or adjusting firms in connection with the Claim.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 28
Produce all estimates, reports, or memoranda, including drafts of the same, created for you by any
engineers and/or engineering firms in connection with the Claim.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 29
Produce all statements given by anyone, oral or written, to you or any of your agents, related to
Plaintiff's Claim and/or any issue in Plaintiffls live petition

       RESPONSE:

REQUEST FOR PRODUCTION NO. 30
Pursuant to the applicable rules of evidence, produce all documents evidencing conviction of a
crime which you intend to use as evidence to impeach any party or witness.

       RESPONSE:




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REOUEST FOR PRODUCTION NO. 31
Produce all documents you identified, referred to, or relied upon in answering Plaintiff s
interrogatories.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 32
Produce all non-privileged documents you identified, referred to, or relied upon in developing,
answering and/or formulating your Answer and/or Affirmative Defenses to Plaintiff s live petition.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 33
Produce copies of all documents you intend to offer as evidence at the trial of this matter.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 34
Produce copies of all documents relating to your declaration of the storm alleged to have caused
damage to Plaintiff s Property as a"catastrophe."

       RESPONSE:

REOUEST FOR PRODUCTION NO. 35
Produce copies of your engagement letter/fee agreement between you (or whatever entity or
person is paying your attorney's fee bills) and your attorneys in this matter.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 36
Produce copies of your attorney's[s] fee bills in this matter.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 37
If this claim involves reinsurance, produce copies of the policy or agreement pertaining to that
reinsurance.

       RESPONSE:

REOUEST FOR PRODUCTION NO. 38
If an attorney was involved in evaluating payment or coverage of Plaintiff s Claim pre-suit,
provide all documents relating to that evaluation or recommendation.

       RESPONSE:
            REOUEST FOR ADMISSIONS TO DEFENDANT LIBERTY ',


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REOUEST FOR ADMISSION NO. 1:
Admit that on Date of Loss the Property sustained damages caused by a windstorm.

       RESPONSE:

REOUEST FOR ADMISSION NO. 2:
Admit that on Date of Loss the Property sustained damages caused by a hailstorm

       RESPONSE:

REOUEST FOR ADMISSION NO. 3:
Admit that as of the Date of Loss the Policy was in full force and effect.

       RESPONSE:

REOUEST FOR ADMISSION NO. 4:
Admit that as of the Date of Loss all premiums were fully satisfied under the Policy.

       RESPONSE:

REOUEST FOR ADMISSION NO. 5:
Admit that the Policy is a replacement cost value policy.

       RESPONSE:

REOUEST FOR ADMISSION NO. 6:
Admit that the Policy is an actual cash value policy.

       RESPONSE:

REQUEST FOR ADMISSION NO. 7:
Admit that aside from the Claim at issue, Plaintiff has never previously submitted a claim to you
for damage to the Property.

       RESPONSE:




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REOUEST FOR ADMISSION NO. 8:
Admit that you did not request a Sworn Proof of Loss from Plaintiff in connection with the
Claim at issue.

       RESPONSE:

REOUEST FOR ADMISSION NO. 9:
Admit that you did not request a Sworn Proof of Loss from any other named insured on the
Policy in connection with the Claim at issue.

       RESPONSE:

REQUEST FOR ADMISSION NO. 10:
Admit that Plaintiff timely submitted the Claim.

       RESPONSE:

REQUEST FOR ADMISSION NO. 11:
Admit that your decision to deny or partially deny Plaintiff's Claim was made in whole or in part
on the basis that third parties were responsible for causing damages to the Property.

       RESPONSE:

REUUEST FOR ADMISSION NO. 12:
Admit that Defendant's decision to deny or partially deny Plaintiff's Claim was made in whole
or in part on the basis that the claimed damages are not covered by the Policy. ;

       RESPONSE:

REOUEST FOR ADMISSION NO. 13:
Admit that Defendant's decision to deny or partially deny Plaintiff's Claim was made in whole
or in part on the timeliness of the Claim's submission.

       RESPONSE:




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REOUEST FOR ADMISSION NO. 14:
Admit that you depreciated the costs of labor when determining the actual cash value of the
Claim at issue.

       RESPONSE:

REOUEST FOR ADMISSION NO. 15:
Admit that the adjuster assigned to investigate the Claim did not review the underwriting file at
any time during the adjustment of the Claim.

       RESPONSE:

REOUEST FOR ADMISSION NO. 16:
Admit that the Claim was reviewed by persons other than people who actually inspected the
Property.

       RESPONSE:

REOUEST FOR ADMISSION NO. 17:
Admit that you reinsured the risk under Plaintiffls Policy.

       RESPONSE:




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                                                                LIBERTY INSURANCE CORPORATION

                                                          B/S CORPORATION SERVICE COMPANY-REG AGENT
                                                                       211 E. 7T" ST.
                                                                        SUITE 620
                                                                  AUSTIN, TX 78701-3218

                                                                 067-293858-17 DP/AF/CM
